      Case 1:21-cv-03217-CJN Document 15-14 Filed 04/22/22 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARK MEADOWS,                      )
                                   )
            Plaintiff,             )
                                   )
     v.                            )    Case No. 1:21-cv-3271-CJN
                                   )
NANCY PELOSI, et al.               )
                                   )
                                   )




                              Exhibit M
                                             Case 1:21-cv-03217-CJN Document 15-14 Filed 04/22/22 Page 2 of 2



  BEGBATES     ENDBATES     All Custodians     MasterDate       Chat Name        Chat Message Type      Chat Direction              From                 To                          Extracted Text

                                                                                                                                                                   On January 6, 2021, Vice President Mike Pence,
                                                                                                                                                                   as President of the Senate, should call out all
                                                                                                                                                                   electoral votes that he believes are
                                                                                                                                                                   unconstitutional as no electoral votes at all -- in
                                                                                                                                                                   accordance with guidance from founding father
                                                                                                                                                                   Alexander Hamilton and judicial precedence. "No
                                                                                                                                                                   legislative act," wrote Alexander Hamilton in
                                                                                                                                                                   Federalist No. 78, "contrary to the Constitution,
                                                                                                                                                                   can be valid." The court in Hubbard v. Lowe
                                                                                                                                                                   reinforced this truth: "That an unconstitutional
                                                                                                                                                                   statute is not a law at all is a proposition no
                                                                                                                                                                   longer open to discussion." 226 F. 135, 137
                                                                                                                                                                   (SDNY 1915), appeal dismissed, 242 U.S. 654
                                                                                                                                                                   (1916). Following this rationale, an
                                                                                                                                                                   unconstitutionally appointed elector, like an
                                                                                                                                                                   unconstitutionally enacted statute, is no elector
MM014864     MM014864     Mark Meadows         1/5/2021 23:27 '+19375097356   Message                Incoming            '+19375097356             '+18282002544   at all.
                                                                                                                                                                   I have pushed for this. Not sure it is going to
MM014869     MM014869     Mark Meadows          1/6/2021 7:30 '+19375097356   Message                Outgoing            nccongressman@gmail.com   '+19375097356   happen
